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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

TELADOC HEALTH, INC.,                            )
                                                 )
                       Plaintiff,                )
       v.                                        )    C.A. No. __________________
                                                 )
AMERICAN WELL CORPORATION,                       )    DEMAND FOR JURY TRIAL
                                                 )
                       Defendant.                )


                       COMPLAINT FOR PATENT INFRINGEMENT

               Plaintiff Teladoc Health, Inc., for its complaint of patent infringement against

Defendant American Well Corporation alleges as follows:

                                         THE PARTIES

               1.      Plaintiff Teladoc Health, Inc. (“Teladoc” or “Plaintiff”) is a corporation

organized and existing under the laws of the State of Delaware. Teladoc’s principal place of

business is in Purchase, New York.

               2.      On information and belief, Defendant American Well Corporation

(“Amwell” or “Defendant”) is a corporation incorporated in the State of Delaware with its principal

place of business in Boston, Massachusetts.

                                     NATURE OF ACTION

               3.      This is a civil action against Defendant for patent infringement under the

United States patent laws, as amended, 35 U.S.C. §§ 101 et seq. (the “Patent Laws”). This action

arises out of Defendant’s making, using, selling, offering to sell, and/or importing into the United

States certain devices covered by Teladoc’s patents and/or inducing or contributing to its

customers’ direct infringement. Accordingly, Teladoc seeks monetary and injunctive relief under

the Patent Laws.
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                                 JURISDICTION AND VENUE

               4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1338(a).

               5.      Upon information and belief, Amwell is incorporated in the state of

Delaware, and conducts business and has committed a tort in this District, including without

limitation Defendant’s patent infringement, which causes harm in this State and in this District.

Therefore, this Court has personal jurisdiction over Amwell.

               6.      Venue is proper in this District under 28 U.S.C. § 1400(b) with respect to

Amwell because, on information and belief, Amwell has committed acts of infringement in this

District, and is incorporated in the state of Delaware.

                                         BACKGROUND

       A.      The Technology

               7.      Teladoc is recognized as the world leader in virtual care and offers the only

comprehensive virtual care solution capable of serving organizations and people anywhere.

               8.      In 2020, Teladoc acquired InTouch Technologies, Inc. (“InTouch”).

InTouch provides innovative telehealth capabilities in complex medical environments.

               9.      InTouch has been recognized as a market-leading telehealth company,

receiving recognition for Innovations in Healthcare Technology by the Institute of Electrical and

Electronics Engineers (IEEE) Educational Activities Board in 2017, and the President’s Innovation

in Remote Health Care from the American Telemedicine Association in 2005. InTouch has also

earned awards such as the Deloitte’s Technology Fast 500 Award, Inc. Magazine’s Inc. 500

Award, and most recently, Rank #1 for Virtual Care Platforms in 2020 in the KLAS Report.

               10.     The technology at issue in the asserted patents was developed by Dr. Yulun

Wang and his colleagues, while working for InTouch.


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               11.     Dr. Wang is recognized as an expert in the field of virtual medicine by

several universities, organizations, and news outlets, including the University of California – Santa

Barbara, the National Academy of Engineering, the Today Show, Good Morning America, and

CNN.

               12.     Dr. Wang has also been lauded the “Father of Modern Surgical Robotics”

by medical news publication Medgadget.

               13.     Dr. Wang was the principal inventor of the first FDA-approved surgical

robot, AESOP (Automated Endoscopic System for Optimal Positioning), and the ZEUS Robotic

Surgical System. The ZEUS Robotic Surgical System was used in the world’s first telesurgery

procedure in 2001, and AESOP has been widely used in minimally invasive surgery.

               14.     Dr. Wang has written over 50 publications and has been an inventor on well

over 100 patents.

               15.     The efforts of InTouch and Dr. Wang have resulted in a portfolio of over

130 patents and patent applications.

       B.      The Asserted Patents

               16.     On July 20, 2010, United States Patent No. 7,761,185 (the “’185 Patent”),

entitled “Remote Presence Display Through Remotely Controlled Robot,” was duly and legally

issued by the United States Patent and Trademark Office. A true and correct copy of the ’185

Patent is attached as Exhibit A and incorporated herein.

               17.     On November 12, 2019, United States Patent No. 10,471,588 (the “’588

Patent”), entitled “Robotic Based Health Care System,” was duly and legally issued by the United

States Patent and Trademark Office. A true and correct copy of the ’588 Patent is attached as

Exhibit B and incorporated herein.




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               18.    On May 15, 2012, United States Patent No. 8,179,418 (the “’418 Patent”),

entitled “Robotic Based Health Care System,” was duly and legally issued by the United States

Patent and Trademark Office. A true and correct copy of the ’418 Patent is attached as Exhibit C

and incorporated herein.

               19.    On September 30, 2014, United States Patent No. 8,849,680 (the “’680

Patent”), entitled “Documentation Through a Remote Presence Robot,” was duly and legally

issued by the United States Patent and Trademark Office. A copy of the ’680 Patent is attached as

Exhibit D and incorporated herein.

               20.    On July 15, 2014, United States Patent No. 8,780,165 (the “’165 Patent”),

entitled “Portable Remote Presence Robot,” was duly and legally issued by the United States

Patent and Trademark Office. A true and correct copy of the ’165 Patent is attached as Exhibit E

and incorporated herein.

               21.    On March 21, 2017, United States Patent No. 9,602,765 (the “’765 Patent”),

entitled “Portable Remote Presence Robot,” was duly and legally issued by the United States

Patent and Trademark Office. A true and correct copy of the ’765 Patent is attached as Exhibit F

and incorporated herein.

               22.    On March 11, 2014, United States Patent No. 8,670,017 (the “’017 Patent”),

entitled “Remote Presence System Including a Cart that Supports a Robot Face and an Overhead

Camera,” was duly and legally issued by the United States Patent and Trademark Office. A true

and correct copy of the ’017 Patent is attached as Exhibit G and incorporated herein.

               23.    On November 19, 2019, United States Patent No. 10,483,007 (the “’007

Patent”), entitled “Modular Telehealth Cart with Thermal Imagining and Touch Screen User




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Interface,” was duly and legally issued by the United States Patent and Trademark Office. A true

and correct copy of the ’007 Patent is attached as Exhibit H and incorporated herein.

               24.     On August 28, 2018, United States Patent No. 10,059,000 (the “’000

Patent”), entitled “Server Connectivity Control for a Tele-Presence Robot,” was duly and legally

issued by the United States Patent and Trademark Office. A true and correct copy of the ’000

Patent is attached as Exhibit I and incorporated herein.

               25.     Teladoc is the owner, by assignment, of all rights, title, and interest in and

to the ’185, ’588, ’418, ’680, ’165, ’765, ’017, ’007, and ’000 Patents (collectively, the “Asserted

Patents”).

       C.      Accused Products

               26.     Amwell’s products accused of infringement are the C760, C750, C250, and

C210 telemedicine carts (“Amwell Carts”), the Horus HD Digital Scope System, and the Thinklabs

One Digital Stethoscope (collectively, “Accused Products”).

               27.     According to Amwell’s web site (https://business.amwell.com/telemedicine-

equipment), Amwell’s telemedicine carts are “designed to support in- and out-patient care, equipped

to manage high- and low-acuity cases to provide timely access to remote specialists”; “bring

specialists to where they are needed and allow for complete patient exams- remotely”; “enhance

decision making through sharing of images and real-time audio feeds”; and “get a close-up view of

the patient with a pan‑tilt zoom camera and Far-End-Camera‑Control.”

               28.     According to Amwell’s web site (https://business.amwell.com/telemedicine-

equipment/peripherals/horus-scopes/), the Horus HD Digital Scope System “comfortably fits in one

hand and allows users to naturally see what is being captured on the integrated LCD screen. When




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connected to a telemedicine cart, the scope shares images and video to enable collaboration between

remote teams.”

                 29.    According to Amwell’s web site (https://business.amwell.com/telemedicine-

equipment/peripherals/thinklabs-one-digital-stethoscope/), the Thinklabs One Digital Stethoscope is

“[a]n elegant stethoscope solution offering high-quality audio of heart and lung sounds for all types

of telemedicine applications.”

                 30.    On information and belief, Amwell provides its customers with

documentation containing instructions for configuring and using the Accused Products.

                 31.    On information and belief, Amwell provides its customers with

documentation containing instructions for using the Amwell Carts with third party equipment.

                 32.    On information and belief, Amwell provides its customers a user and

installation guide for the C750 Amwell Cart, such as the “Avizia CA750 User & Installation Guide,”

which is attached as Exhibit J. The Avizia CA750 User & Installation Guide includes instructions

for configuring and using the C750 Amwell Cart.

                 33.    On information and belief, Amwell provides user and installation guides,

substantially similar to Exhibit J, for all of its telemedicine carts, including the C760, C250, and C210

Amwell Carts.

                 34.    Attached as Exhibit K is a brochure for the C760 Amwell Cart.

                 35.    Attached as Exhibit L is a brochure for the C250 Amwell Cart.

                 36.    On information and belief, Amwell provides its customers a user manual for

the Horus HD Digital Scope System, such as the “Horus Scope Series 3 User Manual,” which is

attached as Exhibit M. The Horus Scope Series 3 User Manual includes instructions for configuring

and using the Horus HD Digital Scope System.




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                37.     On information and belief, Amwell provides its customers a user manual for

the Thinklabs One Digital Stethoscope, which is attached as Exhibit N. The Thinklabs One Digital

Stethoscope user manual contains instructions for configuring and using the Thinklabs One Digital

Stethoscope.

                38.     On information and belief, Amwell provides its customers with software for

use with the Amwell Carts.

                39.     On information and belief, Amwell provides its customers with software for

use with the Accused Products.

          D.    Amwell’s Knowledge of the Asserted Patents and Accused Products

                40.     On September 14, 2020, counsel for Teladoc sent a letter to Amwell and its

counsel providing notice of the Asserted Patents (“Notice Letter”). Attached as Exhibit O is a copy

of the Notice Letter.

                41.     In the Notice Letter, Teladoc provided notice to Amwell that one or more of

the Accused Products infringes the Asserted Patents and identified examples, based upon information

to date, of the specific claims infringed for each of the Asserted Patents.

                42.     On September 15, 2020, Amwell filed an amended Form S-1 Registration

Statement with the U.S. Securities and Exchange Commission to reference the Notice Letter and

Teladoc’s infringement allegations. Attached as Exhibit P are excerpts from Amwell’s amended S-1

filing.

                            FIRST CLAIM FOR RELIEF
               DIRECT INFRINGEMENT OF THE ’185 PATENT BY AMWELL

                43.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.




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                44.     The Accused Products directly infringe claims 1, 3, 4, 6, 7, 10, 11, and 13 of

the ’185 Patent.

                45.     A chart illustrating direct infringement of claims 1, 3, 4, 6, 7, 10, 11, and 13

of the ’185 Patent by the Accused Products is attached as Exhibit Q.

                46.     On information and belief, Amwell has had knowledge and notice of the ’185

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                47.     Amwell has directly infringed and continues to directly infringe the ’185

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States one or more of the Accused Products that practice one or more claims

of the ’185 Patent.

                48.     Amwell’s acts of direct infringement of the ’185 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’185 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                            SECOND CLAIM FOR RELIEF
               INDUCED INFRINGEMENT OF THE ’185 PATENT BY AMWELL

                49.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                50.     Amwell has induced infringement of claims 1, 3, 4, 6, 7, 10, 11, and 13 of the

’185 Patent.

                51.     A chart illustrating induced infringement of claims 1, 3, 4, 6, 7, 10, 11, and 13

of the ’185 Patent by the Accused Products is attached as Exhibit Q.



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                52.     On information and belief, Amwell has had knowledge and notice of the ’185

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                53.     On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’185 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’185 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’185 Patent.

                54.     Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’185 Patent and knowledge that its acts were inducing infringement of the ’185

Patent since at least the date of the Notice Letter.

                55.     Amwell’s acts of induced infringement of the ’185 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’185 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.




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                        THIRD CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’185 PATENT BY AMWELL

                56.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                57.     The Accused Products contributorily infringe claims 1, 3, 4, 6, 7, 10, 11,

and 13 of the ’185 Patent.

                58.     A chart illustrating contributory infringement of claims 1, 3, 4, 6, 7, 10, 11,

and 13 of the ’185 Patent by the Accused Products is attached as Exhibit Q.

                59.     On information and belief, Amwell has had knowledge and notice of the ’185

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                60.     Amwell has and continues to contributorily infringe the ’185 Patent under 35

U.S.C. § 271(c). With knowledge of the ’185 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’185 Patent. The Accused Products are

a material component for use in practicing the ’185 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’185 Patent.

                61.     Amwell’s acts of contributory infringement of the ’185 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’185 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.



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                           FOURTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’588 PATENT BY AMWELL

                62.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                63.     The Accused Products directly infringe claims 1-7 of the ’588 Patent.

                64.     A chart illustrating direct infringement of claims 1-7 of the ’588 Patent by the

Accused Products is attached as Exhibit R.

                65.     On information and belief, Amwell has had knowledge and notice of the ’588

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                66.     Amwell has directly infringed and continues to directly infringe the ’588

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States one or more of the Accused Products that practice one or more claims

of the ’588 Patent.

                67.     Amwell’s acts of direct infringement of the ’588 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’588 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                           FIFTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’588 PATENT BY AMWELL

                68.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                69.     Amwell has induced infringement of claims 1-7 of the ’588 Patent.




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                70.     A chart illustrating induced infringement of claims 1-7 by the Accused

Products is attached as Exhibit R.

                71.     On information and belief, Amwell has had knowledge and notice of the ’588

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                72.     On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’588 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’588 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’588 Patent.

                73.     Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’588 Patent and knowledge that its acts were inducing infringement of the ’588

Patent since at least the date of the Notice Letter.

                74.     Amwell’s acts of induced infringement of the ’588 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’588 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate




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infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        SIXTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’588 PATENT BY AMWELL

                75.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                76.     The Accused Products contributorily infringe claims 1-7 of the ’588 Patent.

                77.     A chart illustrating contributory infringement of claims 1-7 of the ’588 Patent

by the Accused Products is attached as Exhibit R.

                78.     On information and belief, Amwell has had knowledge and notice of the ’588

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                79.     Amwell has and continues to contributorily infringe the ’588 Patent under 35

U.S.C. § 271(c). With knowledge of the ’588 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’588 Patent. The Accused Products are

a material component for use in practicing the ’588 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’588 Patent.

                80.     Amwell’s acts of contributory infringement of the ’588 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’588 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and




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deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                          SEVENTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’418 PATENT BY AMWELL

                81.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                82.     The Accused Products directly infringe claims 1, 2, 4, 5, 8, 9-12, and 15-17 of

the ’418 Patent.

                83.     A chart illustrating direct infringement of claims 1, 2, 4, 5, 8, 9-12, and 15-17

by the Accused Products is attached as Exhibit S.

                84.     On information and belief, Amwell has had knowledge and notice of the ’418

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                85.     Amwell has directly infringed and continues to directly infringe the ’418

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States the Accused Products that practice one or more claims of the ’418

Patent.

                86.     Amwell’s acts of direct infringement of the ’418 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’418 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.




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                          EIGHTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’418 PATENT BY AMWELL

                87.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                88.     Amwell has induced infringement of claims 1, 2, 4, 5, 8, 9-12, and 15-17 of

the ’418 Patent.

                89.     A chart illustrating induced infringement of claims 1, 2, 4, 5, 8, 9-12, and 15-

17 by the Accused Products is attached as Exhibit S.

                90.     On information and belief, Amwell has had knowledge and notice of the ’418

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                91.     On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’418 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’418 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’418 Patent.

                92.     Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’418 Patent and knowledge that its acts were inducing infringement of the ’418

Patent since at least the date of the Notice Letter.



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                93.      Amwell’s acts of induced infringement of the ’418 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’418 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        NINTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’418 PATENT BY AMWELL

                94.      Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                95.      The Accused Products contributorily infringe claims 1, 2, 4, 5, 8, 9-12, and 15-

17 of the ’418 Patent.

                96.      A chart illustrating contributory infringement of claims 1, 2, 4, 5, 8, 9-12,

and 15-17 by the Accused Products is attached as Exhibit S.

                97.      On information and belief, Amwell has had knowledge and notice of the ’418

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                98.      Amwell has and continues to contributorily infringe the ’418 Patent under 35

U.S.C. § 271(c). With knowledge of the ’418 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’418 Patent. The Accused Products are

a material component for use in practicing the ’418 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’418 Patent.



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                99.     Amwell’s acts of contributory infringement of the ’418 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’418 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                           TENTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’680 PATENT BY AMWELL

                100.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                101.    The Accused Products directly infringe claims 1, 2, 4, 5, 12-14, and 21-23 of

the ’680 Patent.

                102.    A chart illustrating direct infringement of claims 1, 2, 4, 5, 12-14, and 21-23

by the Accused Products is attached as Exhibit T.

                103.    On information and belief, Amwell has had knowledge and notice of the ’680

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                104.    Amwell has directly infringed and continues to directly infringe the ’680

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States the Accused Products that practice one or more claims of the ’680

Patent.

                105.    Amwell’s acts of direct infringement of the ’680 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’680 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate



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infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                         ELEVENTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’680 PATENT BY AMWELL

                106.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                107.    Amwell has and continues to induce infringement of claims 1, 2, 4, 5, 12-14,

and 21-23 of the ’680 Patent.

                108.    A chart illustrating induced infringement of claims 1, 2, 4, 5, 12-14, and 21-

23 by the Accused Products is attached as Exhibit T.

                109.    On information and belief, Amwell has had knowledge and notice of the ’680

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                110.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’680 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’680 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’680 Patent.

                111.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual



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knowledge of the ’680 Patent and knowledge that its acts were inducing infringement of the ’680

Patent since at least the date of the Notice Letter.

                112.     Amwell’s acts of induced infringement of the ’680 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’680 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                      TWELFTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’680 PATENT BY AMWELL

                113.     Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                114.     The Accused Products contributorily infringe claims 1, 2, 4, 5, 12-14, and 21-

23 of the ’680 Patent.

                115.     A chart illustrating contributory infringement of claims 1, 2, 4, 5, 12-14,

and 21-23 by the Accused Products is attached as Exhibit T.

                116.     On information and belief, Amwell has had knowledge and notice of the ’680

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                117.     Amwell has and continues to contributorily infringe the ’680 Patent under 35

U.S.C. § 271(c). With knowledge of the ’680 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’680 Patent. The Accused Products are

a material component for use in practicing the ’680 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the



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Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’680 Patent.

                118.    Amwell’s acts of contributory infringement of the ’680 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’680 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        THIRTEENTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’165 PATENT BY AMWELL

                119.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                120.    The Accused Products directly infringe claims 1-4 of the ’165 Patent.

                121.    A chart illustrating direct infringement of claims 1-4 by the Accused Products

is attached as Exhibit U.

                122.    On information and belief, Amwell has had knowledge and notice of the ’165

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                123.    Amwell has directly infringed and continues to directly infringe the ’165

Patent under 35 U.S.C. § 271(a) by, among other things, using in the United States methods that

practice one or more claims of the ’165 Patent.

                124.    Amwell’s acts of direct infringement of the ’165 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’165 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate



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infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        FOURTEENTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’165 PATENT BY AMWELL

                125.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                126.    Amwell induces infringement of claims 1-4 of the ’165 Patent.

                127.    A chart illustrating induced infringement of claims 1-4 by the Accused

Products is attached as Exhibit U.

                128.    On information and belief, Amwell has had knowledge and notice of the ’165

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                129.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’165 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’165 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’165 Patent.

                130.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual




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knowledge of the ’165 Patent and knowledge that its acts were inducing infringement of the ’165

Patent since at least the date of the Notice Letter.

                131.    Amwell’s acts of induced infringement of the ’165 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’165 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                      FIFTEENTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’165 PATENT BY AMWELL

                132.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                133.    The Accused Products contributorily infringe 1-4 of the ’165 Patent.

                134.    A chart illustrating contributory infringement of claims 1-4 by the Accused

Products is attached as Exhibit U.

                135.    On information and belief, Amwell has had knowledge and notice of the ’165

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                136.    Amwell has and continues to contributorily infringe the ’165 Patent under 35

U.S.C. § 271(c). With knowledge of the ’165 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’165 Patent. The Accused Products are

a material component for use in practicing the ’165 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the




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Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’165 Patent.

                137.    Amwell’s acts of contributory infringement of the ’165 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’165 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                          SIXTEENTH CLAIM FOR RELIEF
               DIRECT INFRINGEMENT OF THE ’765 PATENT BY AMWELL

                138.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                139.    The Accused Products directly infringe claims 1-4 of the ’765 Patent.

                140.    A chart illustrating direct infringement of claims 1-4 by the Accused Products

is attached as Exhibit V.

                141.    On information and belief, Amwell has had knowledge and notice of the

’765 Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                142.    Amwell has directly infringed and continues to directly infringe the

’765 Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell,

and/or importing into the United States the Accused Products that practice one or more claims of the

’765 Patent.

                143.    Amwell’s acts of direct infringement of the ’765 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’765 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid



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patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                       SEVENTEENTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’765 PATENT BY AMWELL

                144.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                145.    Amwell induced and induces infringement of claims 1-4 of the ’765 Patent.

                146.    A chart illustrating induced infringement of claims 1-4 by the Accused

Products is attached as Exhibit V.

                147.    On information and belief, Amwell has had knowledge and notice of the

’765 Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                148.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’765 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’765 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’765 Patent.

                149.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual



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knowledge of the ’765 Patent and knowledge that its acts were inducing infringement of the ’765

Patent since at least the date of the Notice Letter.

                150.    Amwell’s acts of induced infringement of the ’765 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’765 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                    EIGHTEENTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’765 PATENT BY AMWELL

                151.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                152.    The Accused Products contributorily infringe claims 1-4 of the ’765 Patent.

                153.    A chart illustrating contributory infringement of claims 1-4 by the Accused

Products is attached as Exhibit V.

                154.    On information and belief, Amwell has had knowledge and notice of the ’765

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                155.    Amwell has and continues to contributorily infringe the ’765 Patent under

35 U.S.C. § 271(c). With knowledge of the ’765 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’765 Patent. The Accused Products are

a material component for use in practicing the ’765 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the




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Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’765 Patent.

                156.    Amwell’s acts of contributory infringement of the ’765 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’765 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        NINETEENTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’017 PATENT BY AMWELL

                157.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                158.    The Accused Products directly infringe claims 1, 2, 10, 16, 25, 26, and 29 of

the ’017 Patent.

                159.    A chart illustrating direct infringement of claims 1, 2, 10, 16, 25, 26, and 29

by the Accused Products is attached as Exhibit W.

                160.    On information and belief, Amwell has had knowledge and notice of the ’017

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                161.    Amwell has directly infringed and continues to directly infringe the ’017

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States the Accused Products that practice one or more claims of the ’017

Patent.

                162.    Amwell’s acts of direct infringement of the ’017 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’017 Patent. On information and belief,



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Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        TWENTIETH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’017 PATENT BY AMWELL

                163.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                164.    Amwell has and continues to induce infringement of claims 1, 2, 10, 16, 25,

26, and 29 of the ’017 Patent.

                165.    A chart illustrating induced infringement of claims 1, 2, 10, 16, 25, 26, and 29

by the Accused Products is attached as Exhibit W.

                166.    On information and belief, Amwell has had knowledge and notice of the

’017 Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                167.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’017 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’017 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’017 Patent.

                168.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.



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On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’017 Patent and knowledge that its acts were inducing infringement of the ’017

Patent since at least the date of the Notice Letter.

                169.    Amwell’s acts of induced infringement of the ’017 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’017 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                   TWENTY-FIRST CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’017 PATENT BY AMWELL

                170.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                171.    The Accused Products contributorily infringe claims 1, 2, 10, 16, 25, 26,

and 29 of the ’017 Patent.

                172.    A chart illustrating contributory infringement of claims 1, 2, 10, 16, 25, 26,

and 29 by the Accused Products is attached as Exhibit W.

                173.    On information and belief, Amwell has had knowledge and notice of the ’017

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                174.    Amwell has and continues to contributorily infringe the ’017 Patent under 35

U.S.C. § 271(c). With knowledge of the ’017 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’017 Patent. The Accused Products are



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a material component for use in practicing the ’017 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’017 Patent.

                175.    Amwell’s acts of contributory infringement of the ’017 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’017 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                       TWENTY-SECOND CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’007 PATENT BY AMWELL

                176.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                177.    The Accused Products directly infringe claims 1, 13-16, and 20 of the ’007

Patent.

                178.    A chart illustrating direct infringement of claims 1, 13-16, and 20 by the

Accused Products is attached as Exhibit X.

                179.    On information and belief, Amwell has had knowledge and notice of the ’007

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                180.    Amwell has directly infringed and continues to directly infringe the ’007

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or

importing into the United States the Accused Products that practice one or more claims of the ’007

Patent.



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                181.    Amwell’s acts of direct infringement of the ’007 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’007 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                       TWENTY-THIRD CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’007 PATENT BY AMWELL

                182.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                183.    Amwell has and continues to induce infringement of claims 1, 13-16, and 20

of the ’007 Patent.

                184.    A chart illustrating induced infringement of claims 1, 13-16, and 20 by the

Accused Products is attached as Exhibit X.

                185.    On information and belief, Amwell has had knowledge and notice of the ’007

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                186.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’007 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’007 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’007 Patent.

                187.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing



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instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’007 Patent and knowledge that its acts were inducing infringement of the ’007

Patent since at least the date of the Notice Letter.

                188.    Amwell’s acts of induced infringement of the ’007 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’007 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                  TWENTY-FOURTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’007 PATENT BY AMWELL

                189.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                190.    The Accused Products contributorily infringe claims 1, 13-16, and 20 of the

’007 Patent.

                191.    A chart illustrating contributory infringement of claims 1, 13-16, and 20 by

the Accused Products is attached as Exhibit X.

                192.    On information and belief, Amwell has had knowledge and notice of the

’007 Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                193.    Amwell has and continues to contributorily infringe the ’007 Patent under

35 U.S.C. § 271(c). With knowledge of the ’007 Patent, Amwell has sold, sells, offers to sell, has



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imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’007 Patent. The Accused Products are

a material component for use in practicing the ’007 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’007 Patent.

                194.    Amwell’s acts of contributory infringement of the ’007 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’007 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                        TWENTY-FIFTH CLAIM FOR RELIEF
              DIRECT INFRINGEMENT OF THE ’000 PATENT BY AMWELL

                195.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                196.    The Accused Products directly infringe claims 1-6, 9, and 15-19 of the ’000

Patent.

                197.    A chart illustrating direct infringement of claims 1-6, 9, and 15-19 by the

Accused Products is attached as Exhibit Y.

                198.    On information and belief, Amwell has had knowledge and notice of the ’000

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                199.    Amwell has directly infringed and continues to directly infringe the ’000

Patent under 35 U.S.C. § 271(a) by, among other things, making, using, selling, offering to sell, and/or



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importing into the United States the Accused Products that practice one or more claims of the ’000

Patent.

                200.    Amwell’s acts of direct infringement of the ’000 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’000 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted direct infringement of a valid

patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                       TWENTY-SIXTH CLAIM FOR RELIEF
             INDUCED INFRINGEMENT OF THE ’000 PATENT BY AMWELL

                201.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                202.    Amwell has and continues to induce infringement of claims 1-6, 9, and 15-19

of the ’000 Patent.

                203.    A chart illustrating induced infringement of claims 1-6, 9, and 15-19 by the

Accused Products is attached as Exhibit Y.

                204.    On information and belief, Amwell has had knowledge and notice of the ’000

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.

                205.    On information and belief, since at least the time Amwell received notice,

Amwell induced and continues to induce infringement of the ’000 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe the ’000 Patent, including, but not limited to, Amwell’s partners, clients, customers,

and end users, whose use of one or more of the Accused Products constitutes direct infringement of

at least one claim of the ’000 Patent.



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                206.    Amwell’s actions that aid and abet others, such as its partners, customers,

clients, and end users, to infringe include advertising and distributing the Accused Products, providing

instruction materials, training, and services regarding the Accused Products, including the user guides

of Exhibits J, M, and N, and/or providing software for use with one or more of the Accused Products.

On information and belief, Amwell has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Amwell had actual

knowledge of the ’000 Patent and knowledge that its acts were inducing infringement of the ’000

Patent since at least the date of the Notice Letter.

                207.    Amwell’s acts of induced infringement of the ’000 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’000 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted induced infringement of a

valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and deliberate

infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                  TWENTY-SEVENTH CLAIM FOR RELIEF
        CONTRIBUTORY INFRINGEMENT OF THE ’000 PATENT BY AMWELL

                208.    Teladoc incorporates by reference each and every allegation contained in

Paragraphs 1-42 above.

                209.    The Accused Products contributorily infringe claims 1-6, 9, and 15-19 of the

’000 Patent.

                210.    A chart illustrating contributory infringement of claims 1-6, 9, and 15-19 by

the Accused Products is attached as Exhibit Y.

                211.    On information and belief, Amwell has had knowledge and notice of the ’000

Patent, as well as its infringement thereof, at least as early as the date of the Notice Letter.



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                212.    Amwell has and continues to contributorily infringe the ’000 Patent under 35

U.S.C. § 271(c). With knowledge of the ’000 Patent, Amwell has sold, sells, offers to sell, has

imported and/or is importing into the United States one or more of the Accused Products to be

especially made or adapted for use in an infringement of the ’000 Patent. The Accused Products are

a material component for use in practicing the ’000 Patent and are specifically made and are not a

staple article of commerce suitable for substantial noninfringing use. The use of one or more of the

Accused Products by Amwell’s partners, clients, customers, and end users constitutes direct

infringement of at least one claim of the ’000 Patent.

                213.    Amwell’s acts of contributory infringement of the ’000 Patent herein are being

committed with full knowledge of Teladoc’s rights in the ’000 Patent. On information and belief,

Amwell is continuing to act despite knowing that its actions constituted contributory infringement of

a valid patent since at least the date of the Notice Letter. Amwell’s acts constitute willful and

deliberate infringement, entitling Teladoc to enhanced damages under 35 U.S.C. § 284 and reasonable

attorneys’ fees and costs.

                             DAMAGES AND INJUNCTIVE RELIEF

                214.    As a result of Amwell’s infringement of the Asserted Patents, Teladoc has

suffered and will continue to suffer damages. Under 35 U.S.C. § 284, Teladoc is entitled to recover

from Amwell the damages adequate to compensate for such infringement in an amount to be

determined at trial.

                215.    Amwell’s acts of infringement have caused and will continue to cause

irreparable harm to Teladoc, for which there is no adequate remedy at law, entitling Teladoc to

injunctive relief.




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                                          JURY DEMAND

                216.   Teladoc demands a trial by jury on all issues.

                                      PRAYER FOR RELIEF

                WHEREFORE, Teladoc prays for the following relief:

                a.     A judgment holding that Amwell has infringed the Asserted Patents.

                b.     That Amwell and its affiliates, employees, agents, officers, directors,

attorneys, successors, and assigns and all those acting on behalf of or in concert with Amwell be

permanently enjoined from infringement, inducement of infringement, and contributory infringement

of each of the Asserted Patents;

                c.     That Teladoc be awarded damages for Amwell’s infringement of the Asserted

Patents, together with interest (both pre- and post-judgment interest), costs, and disbursements as

determined by this Court under 35 U.S.C. § 284, including enhanced damages up to three times the

amount of damages found or measured, but in any event no less than a reasonable royalty;

                d.     That this action be adjudged an exceptional case and Teladoc be awarded its

attorneys’ fees in this action pursuant to 35 U.S.C. § 285;

                e.     That Teladoc is entitled to reasonable costs, including attorneys’ fees and

expenses; and

                f.     That Teladoc be awarded such other equitable or legal relief as this Court

deems just and proper under the circumstances.




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                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                       /s/ Rodger D. Smith II

                                       Rodger D. Smith II (#3778)
                                       Cameron P. Clark (#6647)
                                       1201 North Market Street
OF COUNSEL:                            P.O. Box 1347
                                       Wilmington, DE 19899
Michael V. Solomita                    (302) 658-9200
NORTON ROSE FULBRIGHT US LLP           rsmith@mnat.com
1301 Avenue of the Americas            cclark@mnat.com
New York, NY 10019-6022
(212) 408-5100                         Attorneys for Plaintiff Teladoc Health, Inc.

October 12, 2020




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